                  U.S. DISTRICT COURT OF APPEALS - EIGHTH CIRCUIT
                                   NOA SUPPLEMENT
                    NORTHERN DISTRICT OF IOWA - CEDAR RAPIDS IA

     CAPTION:                                      CASE NUMBER:
USA v. Samuel B Ford                               11-cr-0046-LRR

     APPELLANT:                                    APPELLANT OR ATTORNEY ADDRESS:
      Samuel B Ford                                Leslie E Stokke
                                                   Leslie E. Stokke Law Office
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                                                   Suite 310
                                                   Cedar Rapids, IA 52401-1400
                                                   319 364 8580




     APPELLEE:                                     APPELLEE ATTORNEY ADDRESS:
      United States of America                     Daniel C Tvedt, Dan Chatham
                                                   US Attorney's Office, Northern District of Iowa
                                                   401 First Street SE
                                                   Hach Building, Suite 400
                                                   Cedar Rapids, IA 52401-1825
                                                   319-363-6333



     COURT REPORTERS:                              PROCEEDINGS:
      Patrice Murray 319-286-2324                  Motion Hearing 5/9/11
                                                   Motion Hearing 5/23/11
                                                   Final Pretrial Conference
                                                   Jury Trial Day
      Kay Carr 319-362-1543
                                                   Motion Hearing 8/5/11
                                                   Pretrial Conference




     LENGTH OF TRIAL:         3 days         FEE PAID? n            IFP: FILED         ✔        PENDING

     CRIMINAL ATTORNEY: Leslie Stokke PENDING MOTIONS:                          PENDING MOTIONS:          n

     LOCAL INTEREST?: n                      SIMULTANEOUS RELEASE?: n

     DEFENDANT’S LOCATION:
     in transit
     OTHER DEFENDANTS IN CASE, IF MULTIPLE DEFENDANTS:




     Please return files and documents to:         Contact Person/Phone Number:
     Clerk, US District Court
                                                        Karen S Yorgensen
     Northern District of Iowa
    4200 C St SW, Cedar Rapids, IA 52404                319-286-2346

            Case 1:11-cr-00046-LRR-MAR Document 157 Filed 12/13/11 Page 1 of 1
